
TILLMAN PEARSON, Judge
(concurring in part and dissenting in part).
I must respectfully dissent from that portion of the majority opinion which reverses the judgment and orders a new trial as to damages. It is my view that the trial on damages was fairly conducted and that the damages assessed ought not to shock the conscience of this appellate court. The trier of fact reasonably found that this $87,000 country estate was worth only $20,000 after it was ruined by defendant’s negligence. I believe that this supports the judgment.
I would affirm upon authority of the rule stated in Ragg v. Hurd, Fla.1952, 60 So.2d 673, and Griffin v. Standley, Fla.App. 1960, 123 So.2d 55.
